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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

In Re: Oil Spill by the Oil Rig *
“Deepwater Horizon” in the Gulf * MDL NO.: 2179
of Mexico, on April 20, 2010 *
*
* SECTION J
This document relates to 2:10-cv-1926 *
* JUDGE BARBIER
* MAG. JUDGE SHUSHAN
+
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NOTICE OF HEARING

PLEASE TAKE NOTICE that the Copeland’s plaintiffs, through undersigned counsel,
shall bring their Rule 59(e) Motion to Alter or Amend Judgment Denying Copeland’s Motion for
Temporary Restraining Order and Preliminary Injunction, and for Court Supervision, for hearing
on the 16th day of September, 2010, following the 9:00 a.m. initial hearing in this matter in front
of Judge Barbier at the United States District Court for the Eastern District of Louisiana, 500
Camp Street, New Orleans, Louisiana, or as soon thereafter as this matter can be heard.

Respectfully submitted,

/s/ James M. Garner .
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_ JOSHUA S. FORCE (# 21975)
SHARONDA R. WILLIAMS (# 28809)

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CERTIFICATE OF SERVICE

I hereby certify that on August 19th, 2010, I filed the foregoing pleading via CM/ECF
with the Clerk of Court of the United States District Courthouse for the Eastern District of
Louisiana, 500 Poydras Street, New Orleans, Louisiana, and also delivered a copy on Defendant
BP PLC via hand delivery to Don K. Haycraft, local counsel.

/s/ James M. Garner

